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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 21-81963-CIV-CANNON

  PREPARED FOOD PHOTOS, INC.,

         Plaintiff,
  v.

  SHADOWBROOK FARM LLC,

        Defendant.
  _________________________________________/

                          ORDER DENYING WITHOUT PREJUDICE
                         MOTION FOR FINAL DEFAULT JUDGMENT

          THIS CAUSE comes before the Court upon Plaintiff Prepared Food Photos, Inc.’s

   Motion for Default Final Judgment Against Defendant Shadowbrook Farm LLC (the “Motion”)

   [ECF No. 10]. Plaintiff seeks entry of a permanent injunction as well as $107,892.00 in damages

   for copyright infringement arising from Defendant’s unauthorized use of a single photograph

   owned by Plaintiff. Plaintiff arrives at that sizable damages figure by first insisting that, rather

   than license individual photographs, Plaintiff generally requires clients to enter into a twelve-

   month licensing commitment for its entire library of photographs at a price of $11,988.00

   [ECF No. 10 pp. 9–10]. Plaintiff then argues that a scarcity multiplier of three should be applied

   to that base figure—bringing the actual damages figure to $35,964.00—because Defendant may

   have used the photograph for longer than the contemplated twelve-month period

   [ECF No. 10 pp. 12–13]. Finally, Plaintiff argues that the Court should award treble damages

   under 17 U.S.C. § 504(c)(2), concluding that a total damages award of $107,892.00 is warranted.

          Federal Rule of Civil Procedure 55 affords the Court discretion to take appropriate steps

   when considering a motion for default judgment in order to conduct an accounting, determine
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   the amount of damages, establish the truth of any allegation by evidence, or investigate any other

   matter. Fed. R. Civ. P. 55(b)(2). Although the well-pled allegations in a complaint relating to

   liability are taken as true upon default, “those relating to the amount of damages suffered

   ordinarily are not.” Wehrs v. Wells, 688 F.3d 886, 892 (7th Cir. 2012) (citing United States v.

   Di Mucci, 879 F.2d 1488, 1497 (7th Cir. 1989)); accord Credit Lyonnais Sec. (USA), Inc. v.

   Alcantara, 183 F.3d 151, 155 (2d Cir. 1999) (citing cases).

           Here, the Motion in its current form does not provide an adequate basis for the Court to

   award the proposed damages figure. The Motion is accompanied by a declaration of Plaintiff’s

   president, Doug Fleurant, who confirms that Plaintiff “generally operates on a subscription basis”

   and requires “a minimum of a twelve (12) month licensing commitment” under its “standard

   licensing terms” [ECF No. 10-1 ¶¶ 4–5]. This evidence, which merely refers to Plaintiff’s general

   business practices, is insufficient to establish that $11,988.00 is the “fair market value” of a single

   use of the subject work [ECF No. 10 p. 9]. See Safari Programs, Inc. v. CollectA Int’l Ltd., 686

   F. App’x 737, 746 (11th Cir. 2017) (holding that a “single affidavit from [the plaintiff’s] CEO

   relying on a dubious extrapolation from limited sales data” was not sufficient for the district court

   to make a fully informed determination of damages).

         Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

     1. Plaintiff’s Motion for Default Final Judgment Against Defendant Shadowbrook Farm LLC

         is DENIED WITHOUT PREJUDICE.

     2. Plaintiff may file a revised motion for default final judgment, but any such motion must

         contain particularized support in the form of affidavits, reports, or other documents to

         justify what currently appears to be an excessive calculation of damages by Plaintiff.

     3. Following receipt of a revised motion for default final judgment, the Court will take the



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          request under advisement and proceed accordingly under Rule 55(b)(2).

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of January

  2022.



                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE
  cc:     counsel of record




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